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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF VIRGINIA
                            ROANOKE DIVISION

JEREMIAH HENDERSON,                          )
                                             )
               Plaintiff,                    )      Case No. 7:19cv00685
                                             )
v.                                           )
                                             )
AUSTIN K. MCCLAIN,                           )      By: Hon. Thomas T. Cullen
                                             )         United States District Judge
               Defendant.                    )

                                MEMORANDUM OPINION

       This matter is before the court on Plaintiff Jeremiah Henderson’s motion to

consolidate his separate actions against Austin McClain, a City of Roanoke police officer, and

the City of Roanoke [ECF No. 59].

       On October 19, 2019, Jeremiah Henderson filed this case against Roanoke Police

Officer Austin McClain in his individual capacity. Henderson seeks damages under 42

U.S.C. § 1983 for false arrest and malicious prosecution. On May 15, 2020, seven months later,

Henderson filed case 7:20-cv-281, Henderson v. Roanoke, seeking a declaratory judgment and

nominal damages against the City of Roanoke due to the City’s alleged failure to properly abide

by the dictates of Virginia Code § 15.2-1717.1, which governs Virginia’s trespass bar program.

Only one week after filing his suit against the city, Henderson filed the instant motion seeking

to consolidate his two cases.

       A court may consolidate two cases if the “actions before the court involve a common

question of law or fact.” Fed. R. Civ. P. 42(a). In evaluating a motion to consolidate, this Court

considers “whether the specific risks of prejudice and possible confusion [are] overborne by
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the risk of inconsistent adjudications of common factual and legal issues, the burden on

parties, witnesses and available judicial resources posed by multiple lawsuits, the length of time

required to conclude multiple suits as against a single one, and the relative expense to all

concerned of the single-trial, multiple-trial alternatives.” Arnold v. E. Air Lines, Inc., 681 F.2d

186, 193 (4th Cir. 1982). Here, the two cases are largely based on separate facts, involve distinct

legal issues, and reside at different procedural stages. In light of these differences, I conclude

that maintaining separate proceedings will expedite and economize the decisional process for

all parties and mitigate the risk of prejudice. Henderson’s motion to consolidate will therefore

be denied.

       The clerk is directed to forward a copy of this Memorandum Opinion to Plaintiff and

all other counsel of record.

                     22nd day of September, 2020.
       ENTERED this _____




                                      _______________________________________
                                      UNITED STATES DISTRICT JUDGE
